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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

TRACY VAN ATTA

Plaintiff,

Vv.

CONSUMER FINANCIAL

PROTECTION BUREAU

Defendant.

 

 

Civil Action No.: 1:18-cv-02033-ABJ

JURY TRIAL REQUESTED

NOTICE OF WITHDRAWAL

To the Clerk of Court and all parties of record:

Notice is hereby given that the undersigned attorney Kassandra Haynes, counsel for

Plaintiff Tracy Van Atta, withdraws her appearance in the above-captioned matter. The basis for

the withdrawal is that Ms. Haynes is leaving Potomac Legal Group PLLC. Please be advised that

Natalie Koss remains counsel of record for Plaintiff Tracy Van Atta.

Dated: September 18, 2018

Respectfully submitted,
POTOMAC LEGAL GROUP PLLC

Kassandra Haynes, Esq.

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(202) 643-9840 (telephone)

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Haynes@potomaclegalgroup.com
Attorney for Plaintiff Tracy Van Atta
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CERTIFICATE OF SERVICE
I hereby certify that on this 18th day of September 2018, a true and correct copy of

Complainant’s Notice of Withdrawal was served on the following via electronic mail:

Amanda Ploch

Jack Barrett

Consumer Financial Protection Bureau
1700 G Street, NW

Washington, DC 20552

(202) 435-7114
Amanda.Ploch@cfpb.gov
Bernard.Barrett@cfpb.gov

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Kassandra Haynes
